Case 2:11-cr-20468-AJT-MKM ECF No. 1371, PageID.19540 Filed 01/21/15 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                    Plaintiff,                     Case Number: 11-CR-20468

 v.                                                HON. ARTHUR J. TARNOW

 D-14 CHETAN GUJARATHI,

                Defendants.
 ______________________________/

    ORDER DENYING DEFENDANT’S MOTION TO SET ASIDE THE
  ORDER OF JUDGMENT TO CONTINUE THE SENTENCING NUNC PRO
  TUNC TO COMPLETE THE SENTENCING RECORD TO INCLUDE THE
    COURT’S RULING ON DEFENDANT’S MOTION FOR VARIANCE

       Defendant Chetan Gujarathi, who is currently incarcerated, filed Motion to Set

 Aside the Order of Judgment to Continue the Sentencing Hearing Nunc Pro Tunc to

 Complete the Sentencing Record to Include the Court’s Ruling on Defendant’s Motion

 for Variance. A response has been filed by the Government.

       Defendant argues in his motion that he is entitled to reopening of his sentencing

 hearing, because the Court did not mention or decide his motion for a variance from

 the guidelines recommendation.

       The Government responds by arguing that the Court no longer has jurisdiction

 to modify or reopen the sentencing hearing.
Case 2:11-cr-20468-AJT-MKM ECF No. 1371, PageID.19541 Filed 01/21/15 Page 2 of 3



       The Court does not have to decide the question of jurisdiction, because the

 motion lacks merit.

       The Court informed the parties that it was granting the prosecutor’s 5K1.1

 motion for downward departure. The effect of that was to further make the guidelines

 advisory.

       The concept of a variance is less relevant once a downward departure has been

 made and granted. Rather, the required analysis is to consider the Congressional

 factors set forth in 18 USC Section 35539aa).1

             THE COURT: ...The guidelines are just that. Guidelines
             are twice removed from the actual sentence, one, because
             they are advisory and, second, because I have just granted
             a motion for downward departure, which means I can do
             anything I want as long as I can justify it under the statute.
             And the statute is the act of Congress, 18 USC Section
             3553(a), which sets out all sorts of factors. And I should
             put on the record that I have decided that it’s a Level 25,
             Category I, which is 57 to 71 months of the guidelines.

 (Sentencing Transcript, 10/15/14, 15:42 p.m.)

       A long discussion of the Congressional factors followed.

       Given the lack of merit, the Defendant’s motion is denied.

       Accordingly, IT IS ORDERED that Defendant’s Motion to Set Aside the

 Order of Judgment to Continue the Sentencing Hearing Nunc Pro Tunc to Complete



       1
        The word variance was not mentioned by the Court or either party at
 sentencing as it was no necessary.
                                           2
Case 2:11-cr-20468-AJT-MKM ECF No. 1371, PageID.19542 Filed 01/21/15 Page 3 of 3



 the Sentencing Record to Include the Court’s Ruling on Defendant’s Motion for

 Variance is DENIED.


                               s/Arthur J. Tarnow
                               Arthur J. Tarnow
 Dated: January 21, 2015       Senior United States District Judge




                                        3
